         Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:



        AFTER CONSIDERING THE APPLICATIONS for executive clemency of each of
the following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on January 19, 2019, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make immediately available to each named person the Residential Drug Abuse
Program (RDAP). Further, I condition the grant of commutation to each of the following named
persons on that person enrolling in the RDAP program by written agreement, as evidenced by
that person's signing, within 14 days of that person's receipt of a certified copy of this document,
a receipt verifying his or her acceptance of the commutation granted with all of its conditions,
including enrollment in RDAP:


       Terry Anderson,                                Reg. No. 08344-031
        aka Terri Blackburn
       Derrick L. Baines                              Reg. No. 12903-035
       Tonya Barney                                   Reg. No. 14812-081
       Senaca Bartlett                                Reg. No. 05941-090
       Damion Rurshe Bates                            Reg. No. 14423-040
       Todd Begley                                    Reg. No. 14574-075
       Carolyn Ann Bell                               Reg. No. 17268-064
       Christopher Bernard                            Reg. No. 14162-035
       Elaine Beston                                  Reg. No. 09992-046
       James Zell Bishop                              Reg. No. 09973-003
       Walter Bradberry                               Reg. No. 06631-017
       Adrian R. Brown                                Reg. No. 30915-074
       Pamela Brownlee                                Reg. No. 76887-004
       Jeffrey Calhoun,                               Reg. No. 32287-112
         aka Jeffrey Calhon
       Jose Carmona                                   Reg. No. 45438-066
       Cassandra Collins                              Reg. No. 13608-035
       Johnnie L. Cotton                              Reg. No. 06882-025
       Japlin Cureton                                 Reg. No. 17885-058
       Steven Jermonte Cureton                        Reg. No. 21237-058
       Emanuel Jurel Davidson                         Reg. No. 66562-061
       Shondu Maurice Dawson                          Reg. No. 24796-056
       Gary Allen Day                                 Reg. No. 12557-035
       Damon Andre Dill                               Reg. No. 56722-066
       Lourdes Castro Duenas                          Reg. No. 02766-093
       Alton J. Easley                                Reg. No. 03165-029
       Keith Edgerson                                 Reg. No. 39963-039
       Linda Finch                                    Reg. No. 27099-001
       Lance Foster                                   Reg. No. 08104-027
       Stacy Dean Foster                              Reg. No. 07591-010
       Mike Fulton                                    Reg. No. 89209-020
       Dustin Gary                                    Reg. No. 54699-066




Case 1:01-cr-00048-MR-WCM              Document 701        Filed 02/05/17      Page 1 of 11
    Daniel Gilliam,                    Reg. No. 14434-171
      aka Daniel Bostick
    Troy Gilmore                       Reg. No. 10076-171
    Wilbert Decosta Greaves            Reg. No. 15729-056
    Charles Lee Green                  Reg. No. 09415-035
    Stuart John Greger                 Reg. No. 12328-021
    Thaddeas Kulani Thomas Hall        Reg. No. 95857-022
    Forrest Hamm                       Reg. No. 02890-043
    Eddie Harley                       Reg. No. 40227-037
    Anthony T. Harris                  Reg. No. 16562-075
    Antone C. Harris                   Reg. No. 07559-028
    Brandon W. Harris                  Reg. No. 06774-025
    Clenneth J. Harris                 Reg. No. 41996-074
    Tyrone A. Harris                   Reg. No. 39871-083
    Todd Lowell G. Haworth             Reg. No. 10630-023
    Gregory Hearn                      Reg. No. 13605-035
    Antonio Jeron Hemphill             Reg. No. 11345-171
    Michael Henderson                  Reg. No. 25539-050
    Lawrence Honore                    Reg. No. 30447-034
    Charles Allen House                Reg. No. 06081-112
    Daniel Alfonso Jacobo              Reg. No. 03056-029
    Ryan K. Jones                      Reg. No. 29475-044
    Wayne Jordan                       Reg. No. 07713-158
    Kenneth Earl Kelley                Reg. No. 05695-017
    Alfred William Kemfort             Reg. No. 95272-022
    Alonzo King                        Reg. No. 20612-045
    Crystal Dawn Mattern               Reg. No. 09831-059
    Valencia K. Matthews               Reg. No. 08241-025
    Joseph McBride                     Reg. No. 39989-018
    John McCauley                      Reg. No. 14791-424
    John McCray, Sr.                   Reg. No. 07021-025
    Martin McGee                       Reg. No, 41483-074
    Ezekial McLain,                    Reg. No. 14256-052
      aka Ezekiel McClain
    Recco Salaves Meeks                Reg. No. 21557-058
    Luis Marin Mendoza-Esquivel        Reg. No. 09704-029
    Wayne Merrell                      Reg. No. 41476-074
    Kristi Miller                      Reg. No. 42811-074
    Timothy Wayne Miller               Reg. No. 08603-032
    James Edward Mitchell              Reg. No. 08153-046
    Lewis Lynn Mitchell                Reg. No. 09583-046
    Sentra Moore                       Reg. No. 11399-002
    Jeremy Jason Morefield             Reg. No. 12920-035
    Chico Untras Morgan                Reg. No. 12772-002
    David Andrew Mortensen             Reg. No. 13086-081
    Alonzo Norman, Jr.                 Reg. No. 03921-095
    Christopher Clayton Pfaff          Reg. No. 07997-030
    Hope Aree Pinkerton                Reg. No. 02694-029
    Larry Blane Pittman                Reg. No. 17186-198
    Tony Roger Pullings                Reg. No. 11079-018
    Kristen Reed                       Reg. No. 42212-074
    Anthony Jaron Richardson           Reg. No. 17362-058
    Cory D. Rigmaiden                  Reg. No. 12419-035
    Samuel Roberts                     Reg. No. 17481-056
    Charles Bernard Robinson           Reg. No. 50784-056
    Glenn Vincent Robinson,            Reg. No. 04154-063
     aka Sonny Robinson




Case 1:01-cr-00048-MR-WCM    Document 701   Filed 02/05/17   Page 2 of 11
       Joseph E. Robinson                           Reg. No. 13767-035
       Luther Lee Robinson                          Reg. No. 23064-057
       Timnah Rudisill                              Reg. No. 16854-058
       Tyrone Sain                                  Reg. No. 16537-076
       Helen Evette Sanders                         Reg. No. 41469-074
       David M. Scates                              Reg. No. 34943-083
       Joseph Schwartz                              Reg. No. 48357-066
       Kenneth E. Scott                             Reg. No. 29345-044
       Stephen Scott                                Reg. No. 80554-038
       Burnette Trione Shackleford                  Reg. No. 13928-171
       Damenion Sims                                Reg. No. 29698-034
       Bernard Gary Smith, Jr.                      Reg. No. 46523-083
       John Wayne Smith                             Reg. No. 20280-058
       Nathaniel Smith, Jr.                         Reg. No. 23181-057
       Glen Alan Spicer                             Reg. No. 23345-057
       Jorge Luis Suarez-Maya                       Reg. No. 08298-069
       Andre Rashad Sutton                          Reg. No. 41481-074
       Richard Len Taylor, Jr.                      Reg. No. 20095-058
       Charles Edward Thomas                        Reg. No. 79267-180
       Elton F. Thomas                              Reg. No. 15927-074
       Benjamin C. Thompkins, Jr.                   Reg. No. 34458-183
       Anthony Dwayne Thompson                      Reg. No. 26849-112
       William Tisdale                              Reg. No. 20856-057
       Brosarick Ernesto Trammell                   Reg. No. 27130-001
       Aldo Venegas                                 Reg. No. 22179-180
       Donald LeRoy Wagaman                         Reg. No. 08375-030
       Bernard A. Walker                            Reg. No. 15367-074
       Jeffrey Ward                                 Reg. No. 19239-076
       Harold Lindsey Webster                       Reg. No. 00777-030
       Carlos Whitehead                             Reg. No. 31974-044
       Harry David Williams                         Reg. No. 12879-064
       Marshall R. Wilson                           Reg. No. 12326-031
       Connie Jermaine Young                        Reg. No. 91797-071
       Travis Demetrius Youngblood                  Reg. No. 11010-032


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to expire on January 19, 2019. I also remit the unpaid balance, if any, of
each respective fine imposed that may remain when each named person's term of incarceration
expires. I leave intact and in effect for each named person the term of supervised release imposed
by the court with all its conditions and all other components of each respective sentence. I also
direct the Bureau of Prisons to make immediately available to each named person the Residential
Drug Abuse Program (RDAP). Further, I condition the grant of commutation to each of the
following named persons on that person enrolling in the RDAP program by written agreement,
as evidenced by that person's signing, within 14 days of that person's receipt of a certified copy
of this document, a receipt verifying his or her acceptance of the commutation granted with all of
its conditions, including enrollment in RDAP:


       Qustion Dingle                               Reg. No. 76015-004
       Melvin Fudge                                 Reg. No. 11794-040
       Eric Harris                                  Reg. No. 59488-066
       James McCloud                                Reg. No. 14529-055
       Charlie Lee Ross, Jr.                        Reg. No. 10626-035
       Winston Wilkins                              Reg. No. 53115-004
       Ayande Yearwood                              Reg. No. 12181-069




Case 1:01-cr-00048-MR-WCM             Document 701        Filed 02/05/17     Page 3 of 11
        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 151 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Duane Sheffield                               Reg. No. 13809-021
       Charles Ward                                  Reg. No. 06414-087


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 168 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       John Dennis Chapman                           Reg. No. 10138-029
       Ernest Reagan                                 Reg. No. 31821-074
       Jerrick Lamont Rorie                          Reg. No. 16257-171
       Antonio Luna Valdez, Jr.                      Reg. No. 53392-079


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 180 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Abdulmuntaqim Ad-Deep                         Reg. No. 43299-037
       Dorian Lee Benoit                             Reg. No. 13555-035
       Jerome Brown                                  Reg. No. 09926-068
       Richard Glen Milburn                          Reg. No. 20639-074
       Ronald Benjamin Smith                         Reg. No. 09921-003
       Lambert Dorell Sweat                          Reg. No. 18077-171
       Maurice Victor Williams                       Reg. No. 23999-016




 Case 1:01-cr-00048-MR-WCM            Document 701        Filed 02/05/17      Page 4 of 11
        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Alonzo F. Brooks                              Reg. No. 20681-074
       Marlon R. Harrison                            Reg. No. 09538-021
       Jackie Hernandez                              Reg. No. 09186-027
       Kenio Marshall                                Reg. No. 41338-074
       Jerry K. Roberson                             Reg. No. 48446-018
       Yakez Walker                                  Reg. No. 77523-004


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 200 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Ladarius Venice Cook                          Reg. No. 31800-044
       Carla Grace Engler                            Reg. No. 09571-029
       Randolph Rolle                                Reg. No. 64738-004
       Raymond Roger Surratt, Jr.                    Reg. No. 19751-058


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 210 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Ervin Mincey                                  Reg. No. 12639-021
       Dennis Ragland                                Reg. No. 25256-001




 Case 1:01-cr-00048-MR-WCM            Document 701        Filed 02/05/17      Page 5 of 11
        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 235 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Connie Avalos                                Reg. No. 34202-198
       Ramiro Cervantes                             Reg. No. 23435-001
       Earl Glenn, Jr.                              Reg. No. 22660-171
       Timothy Wayne Seabury                        Reg. No. 11910-003


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 240 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       Chauncey Floyd                               Reg. No. 91660-071
       Thomas Johnson                               Reg. No. 81063-004
       Antonio D. Jones                             Reg. No. 17845-075
       Moses King                                   Reg. No. 87630-071
       Wendell Dean Kopp                            Reg. No. 10274-046
       Robert W. Mims                               Reg. No. 05294-017
       Teresa Smith                                 Reg. No. 35695-177
       Tyrone Sturdivant                            Reg. No. 03001-029
       James Mark Thornton                          Reg. No. 20601-074


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 262 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       James Lynch                                  Reg. No. 07788-028
       Thaddeus A. Speed                            Reg. No. 14897-026




Case 1:01-cr-00048-MR-WCM             Document 701        Filed 02/05/17     Page 6 of 11
        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 300 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       William Leonardo Graham                       Reg. No. 05435-748
       Willie Small                                  Reg. No. 30408-013


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 360 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:


       David Barren                                  Reg. No. 09803-068
       Hassan Hills                                  Reg. No. 05163-017
       Bobby Dale Kelley                             Reg. No. 09581-062
       Johnny Ray McAtee                             Reg. No. 09475-029
       Alex Randell                                  Reg. No. 10998-017
       Ted Ross                                      Reg. No. 24510-077


        I hereby further commute the total sentence of imprisonment imposed upon Kevin Lavon
Andrews, Reg. No. 50092-018, to a term of 156 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release, with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Kevin Lavon
Andrews, Reg. No. 50092-018, the Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires. Further, I condition this grant of
commutation to the said Kevin Lavon Andrews, Reg. No. 50092-018, on him enrolling in
RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.


        I hereby further commute the total sentence of imprisonment imposed upon Michael
Delevan Engles, Reg. No. 09523-062, to a term of 270 months' imprisonment, leaving intact
and in effect the six-year term of supervised release, with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Michael Delevan Engles, Reg. No. 09523-062, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Michael Delevan Engles, Reg. No. 09523-062, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.


 Case 1:01-cr-00048-MR-WCM            Document 701        Filed 02/05/17      Page 7 of 11
        I hereby further commute the total sentence of imprisonment imposed upon Paul S.
Fields, Reg. No. 21542-074, to a term of 120 months' imprisonment, leaving intact and in
effect the five-year term of supervised release, with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Paul S. Fields,
Reg. No. 21542-074, the Residential Drug Abuse Program, or future equivalent program, at an
appropriate time before his sentence expires. Further, I condition this grant of commutation to
the said Paul S. Fields, Reg. No. 21542-074, on him enrolling in RDAP by written agreement, as
evidenced by his signing, within 14 days of his receipt of a certified copy of this document, a
receipt verifying his acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP.


        I hereby further commute the total sentence of imprisonment imposed upon Jose Luis
Garcia, Reg. No. 21394-034, to a term of 300 months' imprisonment. I also remit the unpaid
balance of the $25,000 fine imposed by the court that may remain when his term of incarceration
has expired. I leave intact and in effect the 10-year term of supervised release with all its
conditions and all other components of the sentence. I also direct the Bureau of Prisons to make
available to the said Jose Luis Garcia, Reg. No. 21394-034, the Residential Drug Abuse Program,
or future equivalent program, at an appropriate time before his sentence expires. Further, I
condition this grant of commutation to the said Jose Luis Garcia, Reg. No. 21394-034, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt
of a certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.


        I hereby further commute the total sentence of imprisonment imposed upon Reginald
Stern Gardner, Reg_ No. 19388-039, to a term of 234 months' imprisonment, leaving intact
and in effect the eight-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Reginald Stern Gardner, Reg. No. 19388-039, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Reginald Stern Gardner, Reg. No. 19388-039, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDA'',


       I hereby further commute the total sentence of imprisonment imposed upon Gregory A.
Garton, Reg. No. 08800-091, to a term of 360 months' imprisonment. I also remit the unpaid
balance of the $2,200 fine imposed by the court that may remain when his term of incarceration
has expired. I leave intact and in effect the 10-year term of supervised release with all its
conditions and all other components of the sentence. I also direct the Bureau of Prisons to make
available to the said Gregory A. Garton, Reg. No. 08800-091, the Residential Drug Abuse
Program, or future equivalent program, at an appropriate time before his sentence expires.
Further, I condition this grant of commutation to the said Gregory A. Garton, Reg. No. 08800-
091, on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14
days of his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.




 Case 1:01-cr-00048-MR-WCM             Document 701        Filed 02/05/17      Page 8 of 11
       I hereby further commute the total sentence of imprisonment imposed upon Tavaris
Gay, Reg. No. 79342-004, to a term of 130 months' imprisonment. I also remit the unpaid
balance of the $5,000 fine imposed by the court that may remain when his term of incarceration
has expired. I leave intact and in effect the five-year term of supervised release with all its
conditions and all other components of the sentence. I also direct the Bureau of Prisons to make
available to the said upon Tavaris Gay, Reg. No. 79342-004, the Residential Drug Abuse
Program, or future equivalent program, at an appropriate time before his sentence expires.
Further, I condition this grant of commutation to the said upon Tavaris Gay, Reg. No. 79342-
004, on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14
days of his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Eric
German, Reg. No. 12425-035, to a term of 324 months' imprisonment, leaving intact and in
effect the eight-year term of supervised release with all its conditions and all other components
of the sentence. I also direct the Bureau of Prisons to make available to the said upon Eric
German, Reg. No. 12425-035, the Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires Further, I condition this grant of
commutation to the said upon Eric German, Reg. No. 12425-035, on him enrolling in RDAP by
written agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy
of this document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Robby Joe
Goram, Reg. No. 10454-003, to a term of 140 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Robby Joe
Goram, Reg. No. 10454-003, the Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires. Further, I condition this grant of
commutation to the said Robby Joe Goram, Reg. No. 10454-003, on him enrolling in RDAP by
written agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy
of this document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Kiwanis
Miyo Jones, Reg. No. 12319-002, to a term of 170 months' imprisonment, leaving intact and
in effect the 10-year term of supervised release, with all its conditions and all other components
of the sentence. I also direct the Bureau of Prisons to make available to the said Kiwanis Miyo
Jones, Reg. No. 12319-002, the Residential Drug Abuse Program, or future equivalent program,
at an appropriate time before his sentence expires. Further, I condition this grant of commutation
to the said Kiwanis Miyo Jones, Reg. No. 12319-002, on him enrolling in RDAP by written
agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy of this
document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.




Case 1:01-cr-00048-MR-WCM              Document 701        Filed 02/05/17      Page 9 of 11
        I hereby further commute the total sentence of imprisonment imposed upon William
Everett Robinson, Reg. No. 04534-017, to expire on July 18, 2017, leaving intact and in effect
the 10-year term of supervised release with all its conditions and all other components of the
sentence. I also direct the Bureau of Prisons to make available to the said William Everett
Robinson, Reg. No. 04534-017, the Non-Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires. Further, I condition this grant of
commutation to the said William Everett Robinson, Reg. No. 04534-017, on him enrolling in
NRDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in NRDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Alan
Sylvester, Reg. No. 63172-053, to a term of 260 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Alan Sylvester,
Reg. No. 63172-053, the Residential Drug Abuse Program, or future equivalent program, at an
appropriate time before his sentence expires. Further, I condition this grant of commutation to
the said Alan Sylvester, Reg. No. 63172-053, on him enrolling in RDAP by written agreement,
as evidenced by his signing, within 14 days of his receipt of a certified copy of this document, a
receipt verifying his acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Wayne D.
Thompson, Reg. No. 34454-183, to a term of 220 months' imprisonment, leaving intact and in
effect the 16-year term of supervised release with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Wayne D.
Thompson, Reg. No. 34454-183, the Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires. Further, I condition this grant of
commutation to the said Wayne D. Thompson, Reg. No. 34454-183, on him enrolling in RDAP
by written agreement, as evidenced by his signing, within 14 days of his receipt of a certified
copy of this document, a receipt verifying his acceptance of the commutation granted with all of
its conditions, including enrollment in RDAP.



         I hereby further commute the total sentence of imprisonment imposed upon Dan Russell
Watson, Reg. No. 08775-030, to expire on January 19, 2019. I also remit the unpaid balance of
the $4,959 restitution obligation imposed by the court that may remain when his term of
incarceration has expired. I leave intact and in effect the 10-year term of supervised release with
all its conditions and all other components of the sentence. I also direct the Bureau of Prisons to
make available to the said Dan Russell Watson, Reg. No. 08775-030, the Residential Drug Abuse
Program, or future equivalent program, at an appropriate time before his sentence expires. Further,
I condition this grant of commutation to the said Dan Russell Watson, Reg. No. 08775-030, on
him enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the commutation
granted with all of its conditions, including enrollment in RDAP.




Case 1:01-cr-00048-MR-WCM             Document 701        Filed 02/05/17     Page 10 of 11
        I hereby further commute the total sentence of imprisonment imposed upon Gregory C.
Womack, Reg. No. 14052-064, to expire on July 19, 2019, leaving intact and in effect the five-
year term of supervised release with all its conditions and all other components of the sentence. I
also direct the Bureau of Prisons to make available to the said Gregory C. Womack, Reg. No.
14052-064, the Residential Drug Abuse Program, or future equivalent program, at an appropriate
time before his sentence expires. Further, I condition this grant of commutation to the said
Gregory C. Womack, Reg. No. 14052-064, on him enrolling in RDAP by written agreement, as
evidenced by his signing, within 14 days of his receipt of a certified copy of this document, a
receipt verifying his acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP.



       THIS GRANT SHALL become effective as to each of the above-named persons only
upon the delivery and presentment of a certified copy of this document to that person and upon
that person's acceptance of the conditional terms of the grant. I further direct that once the
receipt has been signed by the grant recipient, the Bureau of Prisons shall immediately forward
an ELECTRONIC COPY of the receipt to the Office of the Pardon Attorney, which will deliver
that copy to appropriate personnel in the Bureau of Prisons Designation and Sentence
Computation Center, who will recalculate the projected release dates of each respective recipient.
Failure of a person to sign the receipt and accept the conditional terms of the commutation grant
will render the grant of commutation null and void only as to the person who rejected the grant,
and not to all persons named herein.

        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this
                                                     Nineteenth day of January in the year of our
                                                     Lord Two thousand and seventeen and of the
                                                     Independence of the United States the
                                                     two hundred and forty-first.




                                                             BARACK OBAMA
                                                                President




Case 1:01-cr-00048-MR-WCM             Document 701        Filed 02/05/17     Page 11 of 11
